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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

   BOARD OF TRUSTEES,                                   )
   SHEET METAL WORKERS’                                 )
   LOCAL 9 PENSION TRUST, et al.                        )
                                                        )
                   Plaintiffs,                          )
                                                        )      Case No. 1:23-cv-03458-NYW-SBP
   v.                                                   )
                                                        )
   AMERICAN VETERAN HEATING & AIR,                      )
                                                        )
                   Defendant.                           )

                        [PROPOSED] ORDER AND DEFAULT JUDGMENT

            Upon consideration of the Motion for Default Judgment by Plaintiffs, and the absence of

   exceptions thereto, and the entire record in this case, it appearing to the Court that Defendant

   American Veteran Heating & Air (“Defendant”) has failed to plead or otherwise defend in this

   action, that default was entered against Defendant on May 1, 2024, and that there is no just reason

   for delay, it is hereby:

            ORDERED, that judgment by default is hereby entered in the above-captioned case in

   favor of Plaintiffs, and against Defendant; and

            IT IS FURTHER ORDERED, that Defendant shall pay to Plaintiffs, and Plaintiffs are

   awarded, $220,753.49; and

            IT IS FURTHER ORDERED that Defendant shall pay to Plaintiffs post-judgment interest

   on the above amount at the rate permitted by 29 U.S.C. § 1961 from the date of this Judgment to

   the date paid; and

            IT IS FURTHER ORDERED that this is without prejudice to Plaintiffs’ right to petition

   the Court to amend the amount of Judgment should Plaintiffs determine that Defendant owes

   additional amounts to Plaintiffs; and



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            IT IS FURTHER ORDERED that Defendant shall pay to Plaintiffs any additional

   reasonable attorneys’ fees and costs incurred in connection with this case on and after entry of

   judgment, including, without limitation, those incurred to enforce and collect this judgment. If any

   such further action by Plaintiffs is required, they may apply to this Court or to the Court in which

   enforcement is sought for further reasonable attorneys’ fees and costs; and

            IT IS FURTHER ORDERED, that Plaintiffs are awarded execution for the collection of

   the judgment and that this Court shall maintain jurisdiction of the case for the purpose of enforcing

   this Order; and

            IT IS FURTHER ORDERED that this Order is without prejudice to any other claims

   Plaintiffs may have against Defendant.

            SO ORDERED.

            ENTERED this          day of                         , 2024.



                                           ________________________________________
                                           Hon. Nina Y. Wang
                                           United States District Judge




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